         Case 3:22-cv-03131-JCS Document 156 Filed 04/09/24 Page 1 of 7




                                             April 9, 2024


Hon. Joseph C. Spero
450 Golden Gate Avenue,
Courtroom D – 15th Floor
San Francisco, CA 94102


        Re: Stark, et al. v. Patreon, Inc., Case No. 3:22-cv-03131-JCS (N.D. Cal)


Dear Judge Spero:

Plaintiffs and nonparty Meta Platforms, Inc. respectfully submit this Joint Letter pursuant to Your
Honor’s Civil Standing Order. Plaintiffs and Meta attest that prior to filing this letter, they have met
and conferred in good faith, but have been unable to resolve their disputes.

Respectfully submitted,

By: /s/ Simon S. Grille                                 By: /s/ Laurie Edelstein
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                                      (FILED UNDER SEAL)
          Case 3:22-cv-03131-JCS Document 156 Filed 04/09/24 Page 2 of 7


PLAINTIFFS' STATEMENT
Under the Comt's prior Order, the paities and Meta held a consolidated deposition of Meta's
corporate designee on March 8. Plaintiffs respectfully seek the Comt's assistance in compelling
Meta to produce an additional 30(b)(6) witness because its witness was not adequately prepai·ed to
address key topics in Plaintiffs' deposition notice, as discussed below. Plaintiffs need additional
time to fairly examine Meta's witness, including regarding inf01mation available only from Meta
that came to light for the first time at the deposition.1 Plaintiffs raised these deficiencies with
Meta within seven business days of taking the deposition after carefully reviewing the transcript.
If a c01poration designates a 30(b)(6) witness who is "unable to respond to relevant ai·eas of
inquiiy , the entity has a duty to immediately designate another knowledgeable deponent." R.D. G.
v. City ofBakersfield, 2015 WL 3454503, at *2 (E.D. Cal. May 29, 2015). Meta's designee,
Amlesh Jayakumar was not ade uatel re ared to rovide com lete testimon on several to ics.
For instance


                             See Ex. A at 54:10-1 6; 116:12-117:16; 125:6-126:8.
Topic 1 covers "[t]he types of data that Meta receives through the Meta Pixel, including
Microdata, and the data fields reflected in the data Meta has produced." This topic is essential for
the paities to understand the scope of data that Meta receives from Patreon's Pixel and what
records are available to identify Class members whose PII Patreon transmitted to Meta via Pixel.




                                        See id. at 116:12-117:16; 154:20-24; 162:17-21. This is
exactly the so1t of answer that Rule 30(b)(6) is designed to avoid. See Great Am. Ins. Co. ofNew
Yorkv. Vegas Const. Co. , 251 F.R.D. 534, 539 (D. Nev. 2008) ("The duty to prepare a Rule
30(b)(6) designee goes beyond matters personally known to the witness or to matters in which the
designated witness was personally involved.") (citations omitted).




Topic 2 calls for testimony about Meta 's "organization, storage, retention, and ability to que1y
cookie data and data received via the Meta Pixel[.]" Info1mation about Meta's storage and
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 For example, Plaintiffs first leamed of the existence o~             at the deposition, and while Plaintiffs
sougllt to obtain further testimon from Mr. Ja akumar, ~was not able to adequately ex. ain
how
                    a so was
m onnatJon, sue as Meta'
                             .   -    t      tt  .   t     t
                                                                 See Ex.A at 124:1- 126:8. Meta's
                                                             Mi J ak           Id not provide even as1c
                                                                                 See id.
                             '                            1
         Case 3:22-cv-03131-JCS Document 156 Filed 04/09/24 Page 3 of 7


retention of cookie data and Microdata transmitted by the Pixel relate to Plaintiffs' core
allegations that Patreon transmitted PII with video titles to Meta. More specifically, the Pixel
transmitted Facebook IDs through the "c_user cookie," and video titles through "Microdata."
Meta's witness lacked basic infon nation about its




                                                                                    ). Where and
how the c_user cookie is stored at Meta bears directly on Plaintiffs ' ability to detennine the
identity of Patreon subscribers whose info1mation was sent to Meta using Patreon's Pixel.




                                Id. at 120:24-121:3; 121:13-19, 122:5-122:16.




Topic 3 covers " [t]he process for matching Facebook IDs with Event data transmitted through the
Meta Pixel, association of Pixel Event data. with specific Facebook users, and Meta.'s ability to
identify unique Facebook users whose data was transmitted to Meta through the Meta Pixel."
Plaintiffs sought this testimony to better understand how Meta processes the data it receives from
Pixel and how Meta associates that data with a particular Facebook user.
Mr. Ja akumar testifie




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         Case 3:22-cv-03131-JCS Document 156 Filed 04/09/24 Page 4 of 7



                       Id. at 124:22-125:4. Mr. Ja kumar was also unable to ex lain


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Topic 6 concerns "[t]ools that Meta provides to Facebook users to manage data sharing, including
off-Facebook activity and 'Download your inf01mation. "' The agreed six-hour time limit for
Plaintiffs' questioning precluded testimony in these impo1iant areas. For example, Plaintiffs could
not examine Meta regarding the "Browser cookies" section of the "Download Your Info1m ation"
repo1i, which appears to reflect specific Facebook cookies associated with a user's account, but
which is indecipherable absent Meta's testimony. This info1m ation may allow Class members to
independently verify their claims by reference to materials they can download from their Facebook
profiles. See Kress v. Pricewaterhouse Coopers, LLP, 2013 WL 2421704, at *5 (E.D. Cal. June
3, 2013) (granting "an additional five hours to depose the 30(b)(6) witness" where initial
testimony only covered 12 of 18 topics); Rubin-Knudsen v. Arthur J. Gallagher & Co., 2020 WL
2477687, at *3 (C.D. Cal. Jan. 24, 2020) (granting five additional hours of testimony).
In light of the foregoing and Plaintiffs' April 29 deadline to move for class ce1iification, Plaintiffs
respectfully request that the Court order Meta to produce a Rule 30(b)(6) witness, by April 19, to
testify for four hours on Topics 1, 2, 3, and 6.

META'S STATEMENT

Meta is a non-pa1iy to plaintiffs' lawsuit against Patreon. Nonetheless, Meta has made eve1y effo1i
to cooperate with plaintiffs' successive and increasingly burdensome discove1y demands. Prior
to this demand for additional deposition, plaintiffs ah-eady had se1ved four separate subpoenas on
Meta and its subsidia1y WhatsApp. In response, Meta made seven different productions of data.
Meta also produced a Rule 30(b)(6) witness for a deposition who testified/or more than eight
hours on topics to which Meta and plaintiffs agreed upon in advance. See Ex. B.

Meta's witness was a Meta software engineer who has worked at Meta for nearly 10 years and
whose work has involved launching, building, maintaining, and developing the source code for
the Meta Pixel. See Ex.Cat 31:1-33: 13; 34:9-21. He was prepared and knowledgeable on all
topics and provided complete and thorough testimony. Nonetheless, plaintiffs seek four
additional hours of testimony. Plaintiffs ' demand is unwananted. Plaintiffs had eve1y opportunity
to ask questions, and Meta.'s witness provided extensive testimony on agreed-upon topics.
Plaintiffs ' failure to explore ce1iain issues in greater detail - or their dislike of ce1iain testimony
provided - does not justify their demand for successive depositions of a 11011-pa1iy. Review of the
testimony on each topic shows plaintiffs' request for additional testimony is without merit.

Topic 1: Types of data Meta receives through the Pixel, including Microdata. Plaintiffs'
asse1iion that the are entitled to additional testimon because Meta's witness m 01iedl

                            is unsupp01ied by the record. Topic 1 was directed at the types of
data Meta receives through the Pixel, not Meta's process for generating the records it produced
in litigation. Meta's witness testified extensively and knowledgeably about types of data Meta
receives through the Pixel. Meta's witness acknowled ed that as Meta's desi ated Rule
~)(6) witness, he was not personally involved in
-     produced, which was done at the direction of counsel. However, he was prepared and did

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         Case 3:22-cv-03131-JCS Document 156 Filed 04/09/24 Page 5 of 7


       based on his ex erience that he believed a
                                               Id. at 11 6:12-22.

Plaintiffs asked questions about only one of Meta's seven
 rovided thorouo testimon about the data. He testified
                                                                        I,. at 116:24- 117:1. He also
provided detailed descriptions                  Id. at 114:10-17, 118:10-16, 119:2-24, 122:25-
123:13, 126:10-128:7. Meta's witness also testified in detail about microdata, as discussed
ftnther below. Id. at 113:24-114: 17. In addition Meta' s witness rovided testimon about




testimony.

Topic 2: Meta's "organization, storage, retention, and ability to query cookie data and
data received via the Meta Pixel." Meta's witness testified extensive! about




                                                                I, . at 23:16-27:5, 49:12-
67:11, 70: 1-72:16, 123:14-24; 136:19-139:23; 140:17-22; 144:16-149:17, 151:19- 152:24,
154:10-16, 162:22-1 63:1, 166:12-167:14, 188:1-190:9, 193:9-22, 207:16-208:12, 213:21-227:4.




                                      ess a so sb 1e a out
                                                    Plaintiffs may not like the witness ' testimony
given its implications for the merits, but that is not a basis to demand additional testimony.




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         Case 3:22-cv-03131-JCS Document 156 Filed 04/09/24 Page 6 of 7


           laintiffs failed to show Meta's witness or ask an

                                                                                      .          d
done so, Meta's witness woul ave een ab e to prov1 e testrmony                            But
plaintiffs chose not to do so. Plaintiffs are not entitled to seek addit1ona testimony ·om a non-
paiiy because they failed to ask certain questions when they had the oppo1tunity to do so.

Topic 3: The identity-matching process b
Meta's witness testified extensive! about

                                                          '                                      '
83:5-85:1, 11 9:25-122:24, 123:8-126:5, 144:16-161 :21, 162:2 -        •      • -      •       • -
                                               .         .




same answer. See id. at 63:9-1 5.




Plaintiffs had the opp01tunity to explore the mapping process fmi her but chose not to do so.
Their exercise of their discretion in conducting the deposition is not a basis for their demand for
additional deposition testimony on specific topics they chose not to explore in detail.

Topic 6: Tools that Meta provides to Facebook users to manage data sharing, including off-
Facebook activity and "Download your information." Despite ample time to conduct the
deposition, plaintiffs did not ask a single question about "Download Your Info1m ation," one of
the agreed-upon deposition topics. Plaintiffs cases ai·e inapposite as plaintiffs had sufficient time,
and neither involved a non-paiiy. Plaintiffs ai·e not entitled to another deposition of a non-pa1iy
to seek testimony on a topic about which they failed to inquire when they had the oppo1iunity.

Meta's witness was knowledgeable and adequately prepared on all agreed-upon topics, and he
provided more than eight hours of complete and thorough testimony in response to the paiiies'
questions. Plaintiffs are not entitled to an additional deposition of a non-party either because
they failed to explore ce11ain topics when they had the opportunity to do so or because they are
dissatisfied with the testimony provided. Meta respectfully asks the Comi to deny plaintiffs'
request to require non-paiiy Meta to produce a witness for a second Rule 30(b)(6) deposition.

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          Case 3:22-cv-03131-JCS Document 156 Filed 04/09/24 Page 7 of 7


                                        ATTESTATION
        I, Simon S. Grille, am the ECF User whose ID and password are being used to file this
document. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that all counsel have concurred
in this filing.


Dated: April 9, 2024                                 /s/ Simon S. Grille
                                                     Simon S. Grille




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